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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

VOTE.ORG et al.,

Plaintiffs,

v.                                                      CASE NO. 4:23-CV-00111-AW-MAF

CORD BYRD, in his official capacity
as Secretary of State, et al.,

Defendants.
_________________________________/

         RON TURNER’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

        Defendant, Ron Turner in his official capacity as Supervisor of Elections of Sarasota

County, hereby answers the Plaintiff’s Amended Complaint and says:

                                    NATURE OF THE CASE

     1. Admitted for jurisdictional purposes only.

     2. Admit that Florida law speaks for itself.

     3. Admit that Florida law speaks for itself.

     4. Admit that Florida law speaks for itself.

     5. No response required.

                                 JURISDICTION AND VENUE

     6. Admitted for jurisdictional purposes only.

     7. Admitted for jurisdictional purposes only.

     8. Admitted.

     9. Admitted.

     10. Admitted.

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                                           PARTIES

11. Without knowledge.

12. Without knowledge.

13. Without knowledge.

14. Without knowledge.

15. Without knowledge.

16. Without knowledge.

17. Without knowledge.

18. Admitted.

19. Admitted.

20. Without knowledge.

21. Without knowledge.

22. Without knowledge.

23. Without knowledge.

24. Without knowledge.

25. Without knowledge.

26. Without knowledge.

27. Without knowledge.

28. Without knowledge.

29. Admitted.

30. Admitted.

                         STATEMENT OF FACTS AND LAW

31. Admit Florida law speaks for itself.



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32. Admit Florida law speaks for itself.

33. Admit Florida law speaks for itself.

34. Admit Florida law speaks for itself.

35. Without knowledge.

36. Admit Florida law speaks for itself.

37. Admit Florida law speaks for itself.

38. Admit Florida law speaks for itself.

39. Admit Florida law speaks for itself.

40. Admit Florida law speaks for itself.

41. Admit Florida law speaks for itself.

42. Admit Florida law speaks for itself.

43. Admit Florida law speaks for itself.

                                 CLAIM FOR RELIEF
                                     COUNT I

44. Turner realleges and incorporates by reference his responses to paragraph 1 through 43.

45. Admit Federal law speaks for itself.

46. Admit Federal law speaks for itself.

47. Admit case law speaks for itself.

48. Admit case law speaks for itself.

49. Admit case law speaks for itself.

50. Admit Florida and Federal law speaks for itself.

51. Admit Florida law speaks for itself.

52. Without knowledge.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served to all

counsel of record through the Court’s CM/ECF system on this 28th day of June, 2023.

                                           BENTLEY GOODRICH KISON, P.A.

                                           /s/ Morgan R. Bentley

                                           ______________________________
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                                           Sarasota, Florida 34236
                                           Telephone: 941-556-9030
                                           Attorney for Defendant, Ron Turner
                                           As Sarasota County Supervisor of Elections




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